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                                                                      EXHIBIT
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               Alabsi v. City of Cleveland Et al. - Case No. 1:20-cv-1933

                                Time Log for Mr. Michael Pike


10/6/20 - (.7) Receipt and Review of Complaint

10/6/20 - (.3) Prepare and file Motion for Extension of Time

10/6/20 - (n/c) Review of Marginal Entry Order granting Motion for Extension of Time

10/7/20 – (n/c) Review Jack Casino motion for extension of time, and order granting same.

10/7/20 – (n/c) Review motion for substitution of time filed by Defendants.

10/28//20 - (.3) Review of Answer to Complaint filed by Defendant Jack Entertainment

10/29/20 (.3) Review and Research Notice to Attorney Rachel L. Coles re: not being admitted to
practice into the Northern District of Ohio.

11/4/20 (1.2) Legal research regarding claims and defenses of same related to allegations against
the City of Cleveland.

11/5/20 (1.3) Prepare and file Answer to Complaint

11/6/20- (.5) Review the Case Management Conference Scheduling Order

11/6/20- (.2) Review Notice of Compliance filed by Jack Cleveland Casino LLC.

11/6/20- (.4) Review Separate Answer filed Peter Sains, II
11/6/20- (.3) Review Separate Answer filed Bruce Taylor
11/6/20- (n/c) Review Notice of Appearance for Peter Sains, II, Bruce Taylor
12/1/20-(n/c) Review correspondence from defendant counsel re: consent to magistrate.
12/1/20-(0.3) Telephone conference with client regrading consent to magistrate.
12/2/20-(n/c) Prepare correspondence to all parties regarding consent to magistrate.
12/3/21-(0.6) Complete preparation of initial disclosures.
12/3/20 - (.2) Review consent to case being transferred to the docket of Magistrate Judge Carmen
E. Henderson.

12/3/20- (.2) Review Certificate of Service of Initial Disclosures by Peter Sains, II, Bruce Taylor,
Jack Cleveland Casino, LLC, and all Plaintiffs

12/3/20 - (n/c) Review Notice of Dismissal under FRCP 41(a)(1) without prejudice of Defendant
Bruce Taylor.
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12/3/21-(0.3) Review correspondence from plaintiff’s counsel setting forth initial $4,000,000
demand with no supporting documentation.

12/4/21-(0.2) Prepare correspondence to plaintiff’s counsel regarding dismissal of Division of
Police.

12/7/20- (.5) Review the Amended Case Management Conference Scheduling Order, and Order
granting Defendant’s Motion to Substitute Attorney.

12/11/20- (.2) Review of Notice of Dismissal under FRCP 41(a)(1)

12/14/20-(0.8) Review Report of Parties’ Planning Meeting filed by all Plaintiff including
several correspondences related to filing of same.

12/14/20 (n/c) Review Marginal Entry Order dismissing Defendant City of Cleveland Police
Department

12/15/20 – (0.7 ) Review file materials and pleadings regarding preparation for attendance at
Case Scheduling Conference.

12/17/21-(0.6) Attend initial telephone conference with Magistrate Henderson.

12/18/20-(0.5) Review the Case Management Conference Scheduling Order

1/15/21- (0.4) Review Amended Complaint filed by Plaintiff with additional Defendant.

1/21/21-(0.3) Review docket and prepare correspondence to plaintiff’s counsel regarding
dismissal of non-sui juris Division of Police.

1/21/21- (n/c) Review of Notice of Dismissal under FRCP 41(a)(1)

1/28/21- (0.5) Prepare and file Answer to Amended Complaint.

1/29/21-(0.3) Review Answer to Amended Complaint filed by Jack Cleveland Casino LLC.

1/29/21-(0.3) Review Answer to Amended Complaint filed by Peter Sains, II.

3/08/21-(0.8) Begin legal research regarding preparation of MJOP re: state law claims.

3/09/21-(1.4) Preparation of MJOP regarding factual allegations in Amended Complaint.

3/10/21-(2.4) Preparation of MJOP regarding state law claims.

3/12/21-(1.9) Legal research regarding Federal claims against City re preparation of MJOP

3/17/21-(2.3) Preparation of MJOP regarding Federal claims.

3/30/21- (2.1) Complete Preparation of Motion for Judgment on the Pleadings and filing of same.
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4/1/2021- (n/c) Review Stipulated Motion for Substitution of Jack Cleveland Casino LLC as
Proper Party.

4/1/2021- (n/c) Review Marginal Entry Order granting Stipulated Motion for Substitution of Jack
Cleveland Casino LLC as Proper Party.

4/1/21-(n/c) Review correspondence from court regarding joint status update and prepare
correspondence re: same.

6/28/21- (0.5) Review of court order regarding Motion for Judgment on the Pleadings

7/12/21 – (0.6) Review of Motion for Leave to file opposition instanter granting Motion for
Judgment on the Pleadings

7/26/21- (2.1) Prepare and file Reply Brief in Support for Judgment on the Pleadings.

8/25/21– (0.5) Review Memorandum Opinion and Order granting the Judgment on the
Pleadings.

8/25/21-(0.3) Telephone conference with client regarding granting of MJOP.

9/1/21– (1.9) Begin preparation of motion for fees.

9/1/21- (1.6) Legal research regarding preparation of motion for fees.

9/7/21-(1.3) Complete preparation of motion for fees.


Total Hours – 31.9

53 entries – n/c for 12 or 22% of them.
